     Case 2:15-cv-03107-PA-AJW Document 36 Filed 05/08/15 Page 1 of 7 Page ID #:755
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 8
 9                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
10
11     FEDERAL TRADE COMMISSION, No. CV15-03107
12
             Plaintiff,                         THIRD PARTY VAS MEDIA GROUP,
13                                              INC.’S OPPOSITION TO MOTION
14           V.                                 FOR PRELIMINARY INJUNCTION
15
       SALE SLASH, LLC, et al.,                 Date: May 11, 2015
16                                              Time: 1:30 p.m.
17                  Defendants.                 Courtroom: 15

18                                              The Honorable Percy Anderson
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                          OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
     Case 2:15-cv-03107-PA-AJW Document 36 Filed 05/08/15 Page 2 of 7 Page ID #:756




 1                                   I. INTRODUCTION
 2         In its zeal to enforce an exparte Temporary Restraining Order against
 3 defendants Sale Slash et al. (collectively, "Sale Slash ")’s assets, the FTC has
 4 wrongfully seized and refuses to release computers, tax returns, personal items,
 5 and other items belonging to third-party VAS Media Group, Inc. and froze VAS
 6 Media’s bank account. VAS Media temporarily rents office space in the same office
 7 as Sales Slash, but Otherwise has no connection to this case. The FTC has no basis
 8 to seize VAS Media’s property, and the Court should order its immediate release
 9 and that the freeze order is lifted
10                                 II. BACKGROUND
11 A. The FTC obtained a TRO against Sale Slash but not VAS Media.
12      On April 27, 2015, the FTC obtained an exparte Temporary Restraining Order
13 with an asset freeze and appointment of a receiver. (the "TRO"). The TRO
14 defines "Receivership Defendants" as "Sale Slash, LLC, a California limited
15 liability company, and Purists Choice LLC, a California limited liability company."
16 (TRO at p. 7.) It separately identifies "Individual Defendants" as Artur Babayan
17 and Vahe Haroutounian. (TRO at p. 8.) It appoints a receiver, and allows the
18 receiver control over only the assets and documents of the Receivership
19 Defendants, but only the Receivership Defendants. (TRO at p. 24.) The TRO also
20 prevents "Defendants, and their officers, agents, services, employees, and
21 attorneys, and all persons in active concert or participation with any of them" from
22 taking certain actions related to email marketing or spoliation of assets. (TRO at pp
23 9-13.) The TRO does not name or apply to VAS Media in any capacity.
24
   B. VAS Media shares office space with Sale Slash but otherwise has no
25     connection to this case.
26     VAS Media is a California corporation that specializes in adult industry
27 marketing and technical consulting. (May 7, 2015 Declaration of Edvin Aghanian
28 ("Aghanian Deci.") at ¶ 3 ) Att. A.) VAS Media has been in business for over ten
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                      OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
     Case 2:15-cv-03107-PA-AJW Document 36 Filed 05/08/15 Page 3 of 7 Page ID #:757




  1 years, and was historically based in Glendale, California. (Aghanian Deci. at ¶ 4.)
 2 VAS Media’s Glendale lease expired and VAS Media needed temporary office
 3 space. (Aghanian Deci. at ¶ 5.) As a short-term solution, VAS Media rented a
 4 single room in the same building as Sale Slash’s offices. (Aghanian Dccl. at ¶
 5 6.)VAS Media has a rental contract with the building’s owner, and provided
 6 compensation to the ownernot to Sale Slashfor rental of the space. (Aghanian
 7 Deci. at ¶ 7 ) Att. B.)
 8         VAS Media’s room is separate from the other offices. (Aghanian Dccl. at ¶ 8.)
 9 But the room can be locked to seal it off from Sale Slash’s space, and was locked
10 every night when VAS Media’s staff left. (Aghanian Dccl. at ¶ 9.) And, VAS Media
11 doesn’t share filing systems, computer servers, or staff with Sale Slash. (Aghanian
12 Dccl. at ¶ 10.) VAS Media received mail and packages addressed to VAS Media at
13 the office location. Id.
14         VAS Media has no information in its files relevant to Sale Slash, and likewise
15 did not store any of VAS Media’s business information in Sale Slash’s office: the
16 two companies are completely separate. (Aghanian Dccl. at 9111.) Although VAS
17 Media and Sale Slash shared an Internet connection during VAS Media’s short-
18 term tenancy, no data was ever shared between the two companies as a result of
19 that connection. (Aghanian Dccl. at 9112.) VAS Media and Sales Slash have no
20 employees, shareholders, members, officers, or directors in common. Id.
21        VAS Media has consulted for numerous companies in the L.A.-area and
22 around the country. (Aghanian Dccl. at ¶ 13.) VAS performed one consulting job
23 for Sale Slash in mid-2013. (Aghanian Dccl. at 9114.) That consulting job involved
24 Sale Slash’s technical infrastructure and advertising options with Google, Yahoo,
25 and Microsoft Bing. Id. The job ended in 2013, and Sale Slash paid VAS Media
26 approximately $60,000. (Aghanian Dccl. at         91 15.) No money or assets other than
27 that consulting contract payment have been exchanged between VAS Media and
28 Sale Slash. (Aghanian Dccl. at ¶ 16.)
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                       OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
     Case 2:15-cv-03107-PA-AJW Document 36 Filed 05/08/15 Page 4 of 7 Page ID #:758




 1         Vahe Haroutounian is a VAS Media shareholder. (Aghanian Deci. at ¶ 17.) He
 2 is an individual defendant alleged to have registered a tracking platform for Sale
 3 Slash. He did not do so in his capacity as a VAS Media shareholder, and has no
 4 ownership interest in any of the defendant corporations.    See Declaration of Vahe
 5 Haroutounian in Support of Defendants’ Response to Order to Show Cause
 6 ("Haroutounian Dccl.") ¶2.) VAS Media’s bank account is a corporate account,
 7 and not Haroutounian ’ s personal account. (Aghanian Dccl. at ¶ 18)
 8 C. The FTC improperly seized assets belonging to VAS Media.
 9         VAS Media kept business and personal property in its office. (Aghanian Decl.
10 at ¶ 19.) No Sale Stash information was maintained there. Id. The FTC seized the
11 following items that are VAS Media’s property from VAS Media’s individual office
12 space: A total of 6 computers and 4 monitors, including an iMac and 2 Apple
13 monitors on VAS Media President Steve Krikorian’s desk, an iMac and 2 Apple
14 monitors, an unplugged Mac mini and a hard drive on Edvin Aghanian’s desk.
15 Under Aghanian ’ s desk there were two black PC towers and another Mac Mini.
16 The computers on and under Aghanian’s desk were used for software
17 development, and are essential to VAS Media’s business operations. (Aghanian
18 Dccl. at ¶ 21.) The FTC also seized a a cabinet full of checks, business documents,
19 personal and unfiled corporate taxes. (Aghanian Dccl. at ¶ 22.) Each of these items
20 was stored in VAS Media’s separate space, and not in Sale Slash’s office.
21 (Aghanian Dccl. at ¶ 21.) VAS Media requires this propertyespecially the
22 computers, its checks, and the unfiled tax returnsto operate its business.
23 (Aghanian Dccl. at ¶ 22.) VAS Media is suffering business harm every day that it
24 cannot access its business information. Id.
25        On May 7, 2015, VAS Media also learned the receiver froze VAS Media’s
26 bank account. (Aghanian Dccl. at ¶ 23.) This account is essential to VAS Media’s
27 operations, including paying healthcare premiums for VAS employees and their
28 families.Id.
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                      OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
  Case 2:15-cv-03107-PA-AJW Document 36 Filed 05/08/15 Page 5 of 7 Page ID #:759
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  1                                  III. ARGUMENT
 2          A third-party has standing to object to a preliminary injunction whenever its
 3 interests are directly affected. F.T.C. v. Verity Intl, Ltd., No. 00 CIV 7422 (LAK),
 4 2002 WL 44126, at *2 (S.D.N.Y. Jan. 11, 2002). VAS Media’s interests are
 5 affected because the FTC wrongfully seized VAS Media’s property. VAS Media is
 6 a tenant in the same building as defendant Sale Slash, but otherwise has no
 7 connection to this case. (Aghanian Decl. at IT 5-18.) VAS Media takes no position
 8 on whether a preliminary injunction should be entered against Sale Slash, but if an
 9 injunction is entered, the court should also order the immediate return of VAS
10 Media’s property and order the receiver to unfreeze VAS Media’s bank account.
11 A. The FTC’s authority is limited to seizing and controlling assets belonging
        to Sale Slash or Sale Slash’s agents. VAS Media’s property is not subject
12      to freeze or seizure.
13      Section 13(b) of the FTC Act permits the FTC to seek an injunction whenever
14 it believes a corporation is violating or about to violate the Act. 15 U.S.C. §
15 53(b).This injunction can include an asset freeze, and appointment of a receiver
16 over the defendants’ assets. F.T.C. v. Verity Intl, Ltd., No. 00 CIV 7422 (LAK),
17 2002 WL 44126, at *2 (S.D.N.Y. Jan. 11, 2002)(emphasis added). Rule 65 restricts
18 the Court’s authority to enter a binding injunction only "upon the parties to the
19 action, their officers, agents, servants, employees, and attorneys, and upon those
20 persons in active concert or participation with them who receive actual notice of
21 the order by personal service or otherwise." Fed.R.Civ.P. 65(d).
22       The FTC cannot proceed against assets held by third parties absent
23 jurisdiction over the assets and a factual basis for doing so.   U.S. v. Kirschenbaum,
24 156 F.3d 784, 795 (7th Cir.1998). The TRO incorporates these restrictions, and
25 limits the receiver’s authority to only the assets of the Receivership Defendants.
26 And it restrains only the defendants from taking any action.
27       Third parties requesting release of assets bear the burden of proving that the
28 assets do not belong to the fraudulent actor. F. T. C. v. Think Achievement,   144
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                      OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
  Case 2:15-cv-03107-PA-AJW Document 36 Filed 05/08/15 Page 6 of 7 Page ID #:760




 1 F.Supp.2d 1013,1020-22 (N.D.Ind.2000). VAS Media can easily meet this burden,
 2 because the FTC can present no evidence that VAS Media’s assets belong to the
 3 Receivership Defendants or are otherwise subject to the FTC’s control. VAS
 4 Media is not a Receivership Defendant nor is it an Individual Defendant. It is not
 5 an agent of Sale Slash nor otherwise subject to the Court’s jurisdiction. That it had
 6 a consulting contract 3 years ago and shares office space is not evidence that it is
 7 acting as Sale Slash’s agent or that its assets actually belong to Sale Slash. And that
 8 a shareholder may have independently participated in Sale Slash’s activities does
 9 not make VAS Media subject to the FTC’s control. Accordingly, the FTC and the
10 receiver have no authority to retain any of VAS Media’s assets or freeze its bank
11 account.
12       The FTC may argue that it is entitled to freeze VAS Media’s assets because
13 individual defendant Haroutounian is a shareholder. But a corporate shareholder
14 has only an ownership interest in the corporation itself, not a claim to the
15 corporation’s bank account or individual assets. The money in the account does
16 not belong to Haroutounian, and nor do the computers. The FTC might be able to
17 freeze Haroutounian’s stock or order VAS Media not to disgorge -any distributions
18 to him, but it cannot freeze an innocent third party’s operating capital to which the
19 individual defendant has no claim.
20       Likewise, the FTC may argue that Haroutounian has signature authority on
21 the bank account by virtue of his position as a company employee. But this does not
22 require a freeze to resolve: VAS Media can simply be ordered to remove him from
23 the signature card and the bank ordered not to disburse any funds on his authority.
24
   B. Even if VAS Media’s assets were subject to freeze, the Court should
25     decline the preliminary injunction as it relates to those assets.
26        Even when asset belongs to a defendant, the Court must still (i) weigh
27 equities; and (ii) consider the FTC’s likelihood of ultimate success before entering
28 a preliminary injunction. F. T. C.   P.   World Wide Factors, Ltd., 882 F.2d 344, 346 (9th
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                      OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
     Case 2:15-cv-03107-PA-AJW Document 36 Filed 05/08/15 Page 7 of 7 Page ID #:761




 1 Cir. 1989). Defendants have ably briefed the weakness of the FTC’s overall case,
 2     and VAS Media incorporates that argument by reference. But even if the FTC’s
 3     case was strong against defendants, the equities mandate that VAS Media be
 4 allowed access to its computers, tax returns, and operating funds. Without this
 5 access, VAS Media and its shareholder will suffer massive financial harm, including
 6     an inability to pay employee health insurance premiums. And there is no benefit to
 7     the FTC in seizing used computers and tax returns. The FTC can investigate its
 8     case through the discovery process, and those assets are worth very little. Similarly,
 9 the small amount of operating capital in VAS Media’s bank account will provide
10 little recompense to consumerseven if the FTC could possibly construct a theory
11 wherein the funds could be disbursed.
12                                  IV. CONCLUSION
13           VAS Media is a third party with no connection to the allegations in this case.
14 It is not named in the TRO, and its assets are not subject to the FTC and the
15    receiver’s control. The Court should order the FTC to immediately release all of
16    VAS Media’s property and lift the freeze on VAS Media’s bank account.
17

18           Dated May 8, 2015.

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21                                      By: Is! Derek Newman
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                                              Keith Scully, Pro Hac Vice pending
23                                            Attorneys for VAS Media Group, Inc.
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                        OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
